                                                        SO ORDERED.


                                                        Dated: July 7, 2022
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                                                          ______________________________________
 3                                                        Madeleine C. Wanslee, Bankruptcy Judge

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 8                     IN THE UNITED STATES BANKRUPTCY COURT
 9                              FOR THE DISTRICT OF ARIZONA
10    In re:                                       Chapter 11 Proceedings
11    SANTA CLARITA, LLC,                          Case No. 2:20-bk-12402-MCW
12                    Debtor.                      ORDER APPROVING SETTLEMENT
                                                   AGREEMENT BETWEEN TRUSTEE,
13                                                 AND FOLEY BEZEK BEHLE & CURTIS,
                                                   LLP AND ALLOWING FOLEY BEZEK
14                                                 BEHLE & CURTIS CLAIM
15
16             Upon consideration of the Trustee’s Motion to Approve Settlement Agreement
17   with FBBC and Allow FBBC Claim (the “Motion”) filed by Michel W. Carmel, the
18   Chapter 11 Trustee in the above-captioned matter (“Trustee”), seeking approval to
19   resolve the Estate’s disputes with Foley Bezek Behle & Curtis, LLP (“FBBC”) and to
20   allow the FBBC Claim and approve the Settlement Agreement attached to the Motion (the
21   “Settlement Agreement”),
22             The Court FINDS:
23             The Court has authority to enter this Order pursuant to 11 U.S.C. § 502 and
24   Bankruptcy Rules 3007 and 9019;
25             A.    The Trustee’s analysis of the FBBC Proof of Claim and the lack of validity
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     of the counterclaim of malpractice alleged by the Debtor are reasonable and supported by
27
     the documents attached to the Settlement Agreement and record in this case;
28
 1          B.       The Settlement Agreement fully resolves FBBC’s claims against the Estate
 2   and the Estate’s claims against FBBC;
 3          C.       The Settlement Agreement enables funds on which FBBC asserts an
 4   attorney’s lien and substantial contingency claim to be available for other creditors’
 5   claims;
 6          D.       The relief requested is reasonable, and in the best interests of the Estate,
 7   creditors, and other parties in interest;
 8          E.       Due and proper notice of the Motion has been given, including to previous
 9   and current counsel for Remediation Financial, Inc., and no further notice need be
10   provided;
11          F.       No objections to the Motion were filed;
12
13      Based on the foregoing and good cause appearing, IT IS HEREBY ORDERED that:

14               1. The Motion is granted in its entirety;

15               2. The Settlement Agreement is authorized and approved, and binding and

16      effective;

17               3. FBBC has an allowed claim as follows:

18                     a. The unpaid half-hourly rate component of the FBBC Proof of Claim

19          shall be allowed in full, but including only the expert witness fees billed by FBBC,

20          with no offsetting reduction on account of alleged malpractice, a total of

21          $789,156.58.

22                     b. The Result Oriented Contingency Fee component of the FBBC Proof

23          of Claim shall be disallowed.

24               4. Any and all claims of malpractice and any and all other claims against

25      FBBC related to the FBBC Proof of Claim owned or controlled by the Estate are fully

26      and completely released.

27
28                                 DATED AND SIGNED ABOVE
                                                    2
